     Case 6:06-cr-00026-JRH-CLR Document 504 Filed 05/18/07 Page 1 of 1

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                UNITED STATES DISTRICT COUR T

                SOUTHERN DISTRICT OF GEORGIA

                       STATESBORO DIVISION




UNITED STATES OF AMERICA, )

                 Plaintiff,

v.     )      Case                       No . CR606-02 6
KRYSTAL COLLINS, )

                 Defendant.              )

                                ORDE R

     Application for leave of absence has been requested by Tom W .

Everett for the period of Friday, June 1, 2007 through and including

Tuesday, June 12, 2007 .

      The above and foregoing request for leave of absence is approved ;

however, the attorney must make arrangements for other counsel in the

event the case is scheduled for hearing or trial during such leave .

      SO ORDERED this day of May, 2007 .


                                         JNITED STATES MAGISTRATE JUDG E
                                         SOUTHERN DISTRICT OF GEORGIA
